2:08-cv-00889-DCN   Date Filed 03/21/08   Entry Number 5   Page 1 of 9




                                                           2:08-889 DCN
2:08-cv-00889-DCN   Date Filed 03/21/08   Entry Number 5   Page 2 of 9
2:08-cv-00889-DCN   Date Filed 03/21/08   Entry Number 5   Page 3 of 9
2:08-cv-00889-DCN   Date Filed 03/21/08   Entry Number 5   Page 4 of 9
2:08-cv-00889-DCN   Date Filed 03/21/08   Entry Number 5   Page 5 of 9
2:08-cv-00889-DCN   Date Filed 03/21/08   Entry Number 5   Page 6 of 9
2:08-cv-00889-DCN   Date Filed 03/21/08   Entry Number 5   Page 7 of 9




                           21st
2:08-cv-00889-DCN   Date Filed 03/21/08   Entry Number 5   Page 8 of 9
2:08-cv-00889-DCN   Date Filed 03/21/08   Entry Number 5   Page 9 of 9
